     Case 2:05-cr-00162-FVS    ECF No. 456   filed 10/02/09   PageID.1582 Page 1 of 1




 1                            UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
 3

 4

 5
     UNITED STATES OF AMERICA,
                                                        No. CR-05-162-FVS-6
 6
                       Plaintiff,

 7
                                                        ORDER GRANTING
                 v.                                     MODIFICATION OF
 8
                                                        CONDITIONS OF RELEASE

 9
     JUSTIN JONES,

10
                       Defendant.

11

12        THIS MATTER having come before the Court based upon the defendant
     Justin Jones' "Motion to Modify Conditions of Release"; Now, therefore
13
          IT IS HEREBY ORDERED:
14
          1. Defendant Justin Jones' "Motion to Modify Conditions of
15
     Release" (Ct. Rec. 453) is granted.
16
          2. Defendant Justin Jones may travel out of the Eastern District
17
     of Washington to the States of Idaho, Montana, and Oregon for the
18   purpose of performing work for his business clients; provided, if he
19   is going to be out of the district overnight he shall notify his
20   United States Probation Officer.

21        IT IS SO ORDERED.       The District Court Executive is hereby
     directed to enter this order and furnish copies to counsel.
22
          DATED this      2nd      day of October, 2009.
23

24                              s/ Fred Van Sickle
                                   Fred Van Sickle
25                       Senior United States District Judge
26



     ORDER - 1
